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AO 245 S (Rev. 4/90)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case




                            UNITED STATES DISTRICT COURT
                            Western District of Tennessee

UNITED STATES OF AMERICA
     Plaintiff,

VS.                                                                Case Number 2:13-CR-20178-JTF-009

JEREMY BOWDEN,
     Defendant.


                                 JUDGMENT AND COMMITMENT ORDER
                                ON SUPERVISED RELEASE VIOLATION
                     (For Offenses Committed On or After November 1, 1987)



The defendant, Jeremy Bowden, was represented by Tyrone Paylor, appointed Assistant Federal
Public Defender.

       The defendant, who was convicted on March 20, 2014, in the Western District of
       Tennessee and placed on Supervised Release for a period of three (3) years, has
       violated the terms of Supervised Release.

       It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
       revoked and that the defendant be committed to the custody of the United States Bureau
       of Prisons to be imprisoned for a term of Fourteen (14) Months with NO additional
       term of Supervised Release.

       FURTHERMORE, restitution/other monetary penalty and all conditions of Supervised
       Release stands as previously imposed. Defendant remanded to the USM.

       Signed this the 4th day of April, 2018.


                                                            s/John T. Fowlkes ,Jr.
                                                            UNITED STATES DISTRICT JUDGE
